                               Case 8:20-bk-01418-CED                            Doc 31         Filed 03/13/20               Page 1 of 45




 Fill in this information to identify the case:

 Debtor name         Tampa Bay Marine Towing & Service, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-01418
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 13, 2020                          X /s/ Kathleen C. Moreno
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kathleen C. Moreno
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Tampa Bay Marine Towing & Service, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         8:20-bk-01418
                                                                                                                       Check if this is an
                                                                                                                          amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No.    Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 1
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 Debtor         Tampa Bay Marine Towing & Service, Inc.                                       Case number (If known) 8:20-bk-01418
                Name


     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used    Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value        debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    2016 Ford F350                                                         $0.00    Liquidation                         $26,000.00


            47.2.    2006 Ford F350                                                         $0.00    Liquidation                           $5,500.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels
            48.1. See Attached Lists and Pictures                                     $0.00      Liquidation                           $125,000.00



 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            See attached                                                                    $0.00                                          Unknown



 51.        Total of Part 8.                                                                                                         $156,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
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 Debtor         Tampa Bay Marine Towing & Service, Inc.                                      Case number (If known) 8:20-bk-01418
                Name

59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                                 Case 8:20-bk-01418-CED                                   Doc 31             Filed 03/13/20               Page 5 of 45

 Debtor          Tampa Bay Marine Towing & Service, Inc.                                                             Case number (If known) 8:20-bk-01418
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $156,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $156,500.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $156,500.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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       The Marine Specialists
                       This marine survey of the vessel
                    1978 Monark 32’ Crew Boat




                               Prepared Exclusively for:

               Tampa Bay Marine Towing
                          Conducted by: Richard Davis, AMS
                             Report file #: NON780219CV




File# NON780219CV                 11 December 2019                             1 of 6
                                The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
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  TO: Tampa Bay Marine Towing                                Purpose           Valuation
          215 S. Tessier Dr                                  Owner             Tampa Bay Marine Towing
          St. Pete Beach, FL 33706                           Our File #        NON
          Cile@PreferredBrandsInc.com                        Date              13 December 2019


                                            Vessel Identification
 Vessel Name              None Displayed                               Reg No         None Displayed
 Home Port                None Displayed                               Hull ID No.    44950 (reported)
 Manufacturer             Monark                                       Year           1978
 Location                 Monticello, Arkansas                         Color          Yellow
 Model / Style            32’ Crew Boat / Work Boat                    Trim Color     Black
  Length        32’ 0’’         Length LOA          34’ 6”                Beam                12’ 6”

  Draft         Unknown         Weight              Unknown               Displacement        Unknown
  Surveyor                Captain Richard F. Davis            Inspection Date              11 December 2019
  Location                Sea Tow St. Petersburg: 3300 39th Avenue S, St. Petersburg, FL
Circumstances of Inspection:
This valuation was requested by the owner to determine condition and value. The inspection was
conducted on a trailer at SeaTow St. Petersburg Office. Sea Tow employees were present for the
inspection.


Scope of Inspection:
Unless otherwise stated: this survey consisted of a visual inspection of the vessel, its equipment, and
components where accessible without removing any fittings. No destructive testing or disassembly of
machinery was performed. Locked or otherwise inaccessible compartments were not forced open.
Machinery, electronics, tankage, piping, and electrical components were visually inspected.

HULL COMPOSITION AND STRUCTURE:
The Monark 32’ and is equipped with an aluminum hull with painted yellow finish in good condition.
The decks are constructed of aluminum with painted on nonskid finish in fair condition. The vessel
was viewed on stands. the bottom was inspected for damage and corrosion, corrosion was noted on
the stern. The vessel is equipped SS cleats and the mooring arrangement is sufficient for the
vessel.




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                                            The Marine Specialists
                               10001 Gulf Boulevard, Treasure Island, FL 33706
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ENGINES AND MACHINERY: No engine surveyor present
 Configuration        Twin Inboard
                      Port                                Starboard
 Engine Mfg.           Caterpillar                            Caterpillar
 Engine Model          3208                                   3208
 Fuel and # of cyl.    Diesel / V8                            Diesel / V8
 Horsepower            210                                    210
 Serial #              Unknown                                Unknown
 Hours                 Unknown                                Unknown

    The engines are in unknown condition and have not been ran in sometime.




               Port Engine                                Starboard Engine




File# NON780219CV                     11 December 2019                                 3 of 6
                                     The Marine Specialists
                      10001 Gulf Boulevard, Treasure Island, FL 33706
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ELECTRONICS and NAVIGATION: units are working unless otherwise stated.
VHF                  None

GPS PLOTTER:         None

COMPASS              None

SEARCH LIGHT         None

STEREO               None

ANTENNAS:            None




                               Helm & Electronics


Valuation
File# NON780219CV                 11 December 2019                             4 of 6
                                The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
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The “Fair Market value” is "the price that a buyer could reasonably be expected to pay and
 a seller could reasonably be expected to accept, if the vessel were for sale on the open
 market for a reasonable period of time, both buyer and seller being in possession of all
 pertinent facts, and neither being under any compulsion to act."
The “Replacement Cost” is the retail cost of a new vessel of the same or similar
 make/model with similar equipment.
These values are dependent on the limiting conditions and assumptions noted in the report.
These values are statements of opinion. No guarantee can be given that these options of
 value will be sustained or that they will be realized in an actual transaction.
Valuations are developed using some or all of the following BUC Books, bucvalupro.com,
 NADA, and Soldboats.
The following are verified actual sales found for this make, model, and vintage.
       1.     Yr: 1969 38’ Camcraft Location: USVI Sold for: $20,000 Date sold: 07/14


Only one comparable vessel was found on SoldBoats
The BucValuPro tool does not provide a value for this vessel.



 Market Value:       $4,500.00 USD                  Replacement Value:      $324,500.00 USD


Conclusion:
As far as could be determined the vessel is in POOR overall condition given its age, type,
and reported operational area. The vessel is was used as a commercial towing vessel
around Tampa Bay. The vessel has been stored out of water for unknown amount of time.
The electronics have been removed and batteries disconnected. The engines are in
unknown condition.




Definition of Condition Terms:

File# NON780219CV                     11 December 2019                               5 of 6
                                     The Marine Specialists
                        10001 Gulf Boulevard, Treasure Island, FL 33706
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EXCELLENT CONDITION: New or like new.
ABOVE AVERAGE CONDITION: Nearly new, with only minor cosmetic or structural discrepancies
noted.
AVERAGE CONDITION: Denotes that system, component or item is functional as is with minor
repairs.
POOR CONDITION: Unusable as is. Requires repairs or replacement of system, component or
item to be considered functional.
Certification:
Acting on behalf of The Marine Specialists, LLC, the undersigned surveyor certifies that to the best
my knowledge and belief: The statements of fact contained in this report are true and correct. The
reported analyses, opinions, and conclusions are limited only by the reported assumptions and
limiting conditions, and is my personal, unbiased professional analyses, opinions, and
conclusions. I have no present or prospective interest in the vessel that is the subject of this
report, and I have no personal interest or bias with respect to the parties involved. My
compensation is not contingent upon the reporting of a predetermined value or direction in value
that favors the cause of the client, the amount of the value estimate, the attainment of a stipulate
result, or the occurrence of a subsequent event. I have made a personal inspection of the vessel
that is the subject of this report.
This report should be considered as an entire document. No single section is meant to be used
except as part of the whole.
This report is submitted without prejudice and for the benefit of whom it may concern. This report
does not constitute a warranty, either expressed, or implied, nor does it warrant the future
condition of the vessel. It is a statement of the condition of the vessel at the time of the survey.
The HIN is reported as 44950 by the owner and is not displayed on the starboard
stern per USCG.




                                                  Captain Richard F. Davis, AMS 1025
                          Standards               Attending Surveyor
                           Certified              The Marine Specialists




File# NON780219CV                         11 December 2019                                       6 of 6
                                         The Marine Specialists
                           10001 Gulf Boulevard, Treasure Island, FL 33706
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       The Marine Specialists
                        This marine survey of the vessel

                           25’ Nautica RIB




                                Prepared Exclusively for:

                   Tampa Bay Marine Towing
                           Conducted by: Richard Davis, AMS
                               Report file #: NON020119V



File# NON020119V                   11 December 2019                             1 of 6
                                 The Marine Specialists
                     10001 Gulf Boulevard, Treasure Island, FL 33706
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  TO: Cile Moreno                                         Purpose             Valuation
          215 S Tessier Drive                             Owner               Tampa Bay Marine Towing
          St. Pete Beach, FL 33706                        Our File #          NON020119V
          CMoreno@preferredbrands.com                     Date                11 December 2019



                                         Vessel Identification
 Vessel Name          None Displayed                              Reg No           Unknown
 Home Port            None Displayed                              Hull ID #        XIV25004D202(reported)
 Manufacturer         Nautica RIB                                 Year             2002
 Location             Parmus, NJ                                  Color            Yellow
 Model / Style        25’ CC / RIB Center Console                 Trim Color       Black

  Length        25’ 0’’      Length LOA          27’ 5”                Beam                  10’ 4”

  Draft         1’ 10”       Weight              Unknown               Displacement          Unknown
  Surveyor            Captain Richard F. Davis             Inspection Date                11 December 2019
  Location            St. Petersburg Municipal Marina: 500 1st Ave SE, St. Petersburg, FL 33701
Circumstances of Inspection:
This valuation was requested by the owner to determine condition and value. The inspection was
conducted in the vessel’s slip at St. Petersburg Municipal Marina. No Sea Tow employees were
present for the inspection.


Scope of Inspection:
Unless otherwise stated: this survey consisted of a visual inspection of the vessel, its equipment, and
components where accessible without removing any fittings. No destructive testing or disassembly of
machinery was performed. Locked or otherwise inaccessible compartments were not forced open.
Machinery, electronics, tankage, piping, and electrical components were visually inspected.


HULL COMPOSITION AND STRUCTURE:
The Nautica 25 RIB is equipped with fiberglass hull and neoprene rubber inflatable sponsions. The
decks are constructed of white molded FRP and molded in nonskid finish in good condition. The
vessel was viewed in its’ slip, therefore the bottom was not viewed. The vessel is equipped SS
cleats and the mooring arrangement is sufficient for the vessel.




File# NON020119V                           11 December 2019                                            2 of 6
                                         The Marine Specialists
                            10001 Gulf Boulevard, Treasure Island, FL 33706
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ENGINES AND MACHINERY: No engine surveyor present
 Configuration        Twin Outboard
                      Port                              Starboard
 Engine Mfg. / Yr      Tohatsu / 2018                       Tohatsu /2018
 Engine Model          BFT150A                              BFT150A
 Fuel and # of cyl.    Gas 4 Stroke / 4 cyl                 Gas 4 Stroke / 4 cyl
 Horsepower            150                                  150
 Serial #              BANJ-6000741                         BAPJ-7000038
 Hours                 Unknown                              Unknown
 Props                 3 Blade Stainless Steel              3 Blade Stainless Steel




                                         Engines


File# NON020119V                     11 December 2019                                 3 of 6
                                   The Marine Specialists
                      10001 Gulf Boulevard, Treasure Island, FL 33706
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ELECTRONICS and NAVIGATION: units are working unless otherwise stated.
VHF                  Dual Standard Horizon Explorer

GPS PLOTTER:         Garmin GPSmaps 541s flush mounted at helm

COMPASS              6” Richie mounted on the helm

SEARCH LIGHT         None

STEREO               Fusion MS-UD650 mounted in console w/remote at helm

ANTENNAS:            VHF and GPS




                               Helm & Electronics




File# NON020119V                   11 December 2019                            4 of 6
                                 The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
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Valuation
The “Fair Market value” is "the price that a buyer could reasonably be expected to pay and
 a seller could reasonably be expected to accept, if the vessel were for sale on the open
 market for a reasonable period of time, both buyer and seller being in possession of all
 pertinent facts, and neither being under any compulsion to act."
The “Replacement Cost” is the retail cost of a new vessel of the same or similar
 make/model with similar equipment.
These values are dependent on the limiting conditions and assumptions noted in the report.
These values are statements of opinion. No guarantee can be given that these options of
 value will be sustained or that they will be realized in an actual transaction.
Valuations are developed using some or all of the following BUC Books, bucvalupro.com,
 NADA, and Soldboats.
The following are verified actual sales found for this make, model, and vintage.
       1.     Yr: 2004 Location: CT Sold for: $30,000 Date sold: 09/17
       2.     Yr: 2008 Location: FL Sold for: $39,900 Date sold: 03/13


The average from comparisons on Soldboats data is $34,950.00
The BUCValuPro Tool provides a value range of $23,000 - $25,600 for the Hull
The BUCValuPro Tool provides a value range of $17,426.00 for one Honda 150 Four
Stoke (same engine as Tohatsu)


 Market Value:       $27,500.00 USD                  Replacement Value:      $174,500.00 USD


Conclusion:
As far as could be determined the vessel is in AVERAGE overall condition given its age,
type, and reported operational area. The vessel is currently being used as a commercial
towing vessel around Tampa Bay. It is my opinion that upon compliance with the
recommendations in this report, the vessel will be in satisfactory condition for the intended
use of its manufacturer.




File# NON020119V                       11 December 2019                                5 of 6
                                      The Marine Specialists
                        10001 Gulf Boulevard, Treasure Island, FL 33706
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Definition of Condition Terms:
EXCELLENT CONDITION: New or like new.
ABOVE AVERAGE CONDITION: Nearly new, with only minor cosmetic or structural discrepancies
noted.
AVERAGE CONDITION: Denotes that system, component or item is functional as is with minor
repairs.
POOR CONDITION: Unusable as is. Requires repairs or replacement of system, component or
item to be considered functional.
Certification:
Acting on behalf of The Marine Specialists, LLC, the undersigned surveyor certifies that to the best
my knowledge and belief: The statements of fact contained in this report are true and correct. The
reported analyses, opinions, and conclusions are limited only by the reported assumptions and
limiting conditions, and is my personal, unbiased professional analyses, opinions, and
conclusions. I have no present or prospective interest in the vessel that is the subject of this
report, and I have no personal interest or bias with respect to the parties involved. My
compensation is not contingent upon the reporting of a predetermined value or direction in value
that favors the cause of the client, the amount of the value estimate, the attainment of a stipulate
result, or the occurrence of a subsequent event. I have made a personal inspection of the vessel
that is the subject of this report.
This report should be considered as an entire document. No single section is meant to be used
except as part of the whole.
This report is submitted without prejudice and for the benefit of whom it may concern. This report
does not constitute a warranty, either expressed, or implied, nor does it warrant the future
condition of the vessel. It is a statement of the condition of the vessel at the time of the survey.
The HIN is reported to be XIV25004D202 and is not displayed on starboard stern.




                                                 Captain Richard F. Davis, AMS 1025
                         Standards               Attending Surveyor
                          Certified              The Marine Specialists




File# NON020119V                          11 December 2019                                       6 of 6
                                         The Marine Specialists
                           10001 Gulf Boulevard, Treasure Island, FL 33706
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       The Marine Specialists
                       This marine survey of the vessel

                            “Leadership”
                     1993 25’ Silver Ships Center Console




                               Prepared Exclusively for:

                Tampa Bay Marine Towing
                          Conducted by: Richard Davis, AMS
                              Report file #: VSI930119V



File# VSI930119CV                  11 December 2019                            1 of 6
                                The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
              Case 8:20-bk-01418-CED             Doc 31       Filed 03/13/20      Page 23 of 45




  TO: Tampa Bay Marine Towing                                Purpose           Condition / Valuation
          215 S Tessier Drive                                Owner             Tampa Bay Marine Towing
          St. Pete Beach, FL 33706                           Our File #        VSI930119V
          CMoreno@preferredbrands.com                        Date              11 December 2019


                                              Vessel Identification
 Vessel Name              Leadership                                   REG No          FL 1408 NE
 Home Port                None Displayed                               Hull ID No.     VSI27693K293
 Manufacturer             Silver Ships Inc.                            Year            1993
 Location                 Mobile, AL                                   Color           Yellow
 Model / Style            25’ CC / Center Console                      Trim Color      Black
  Length        25’ 0’’         Length LOA          27’ 8”                Beam                 9’ 8”

  Draft         1’ 10”          Weight              Unknown               Displacement         Unknown
  Surveyor                Captain Richard F. Davis            Inspection Date           11 December 2019
  Location                Sea Tow St. Petersburg: 3300 39th Avenue S, St. Petersburg, FL
Circumstances of Inspection:
This valuation was requested by the owner to determine condition and value. The inspection was
conducted on a trailer at SeaTow St. Petersburg Office. Sea Tow employees were present for the
inspection.


Scope of Inspection:
Unless otherwise stated: this survey consisted of a visual inspection of the vessel, its equipment, and
components where accessible without removing any fittings. No destructive testing or disassembly of
machinery was performed. Locked or otherwise inaccessible compartments were not forced open.
Machinery, electronics, tankage, piping, and electrical components were visually inspected.

HULL COMPOSITION AND STRUCTURE:
The Silver Ships 25’ Center Console and is equipped with an aluminum hull with painted yellow
finish in good condition. The decks are constructed of aluminum with painted on nonskid finish in
good condition. The vessel was viewed on a trailer, the bottom was inspected for damage, none
was found. The vessel is equipped SS cleats and the mooring arrangement is sufficient for the
vessel.




File# VSI930119CV                              11 December 2019                                          2 of 6
                                              The Marine Specialists
                                10001 Gulf Boulevard, Treasure Island, FL 33706
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ENGINES AND MACHINERY: No engine surveyor was present for inspection.
 Configuration                                    Single Outboard
 Engine Mfg.         Tohatsu / 2018               Engine Model        BFT250A
 Hp. / # Cyl         250 HP / 6 Cyl               Fuel Type           Gas / 4 Stroke
 Serial #             BBJJ-6000248                Hours                Unknown
 Prop                 3 Blade SS




                                            Engine




File# VSI930119CV                      11 December 2019                                3 of 6
                                      The Marine Specialists
                       10001 Gulf Boulevard, Treasure Island, FL 33706
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ELECTRONICS and NAVIGATION: units are working unless otherwise stated.
VHF                  Dual Standard Horizon Explorer

GPS PLOTTER:         Garmin GPSmap 741xs mounted on console

COMPASS              4” Richie mounted on the helm

SEARCH LIGHT         None

STEREO               None

ANTENNAS:            VHF and GPS




                               Helm & Electronics




File# VSI930119CV                  11 December 2019                            4 of 6
                                 The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
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Valuation
The “Fair Market value” is "the price that a buyer could reasonably be expected to pay and
 a seller could reasonably be expected to accept, if the vessel were for sale on the open
 market for a reasonable period of time, both buyer and seller being in possession of all
 pertinent facts, and neither being under any compulsion to act."
The “Replacement Cost” is the retail cost of a new vessel of the same or similar
 make/model with similar equipment.
These values are dependent on the limiting conditions and assumptions noted in the report.
These values are statements of opinion. No guarantee can be given that these options of
 value will be sustained or that they will be realized in an actual transaction.
Valuations are developed using some or all of the following BUC Books, bucvalupro.com,
 NADA, and Soldboats.
The following are verified actual sales found for this make, model, and vintage.
       1.     Yr: 2009 Location: AL Sold for: $50,000 Date sold: 05/13


Only one comparable Silver Ship was found on SoldBoats
The BucValuPro tool does not provide a value for this vessel.
The BucValuPro tool provides a value of $24,195.00 for 2018 Honda 250 (same engine)



 Market Value:       $37,500.00 USD                  Replacement Value:      $154,500.00 USD


Conclusion:
As far as could be determined the vessel is in AVERAGE overall condition given its age,
type, and reported operational area. The vessel is currently being used as a commercial
towing vessel around Tampa Bay. It is my opinion that upon compliance with the
recommendations in this report, the vessel will be in satisfactory condition for the intended
use of its manufacturer.




File# VSI930119CV                      11 December 2019                                5 of 6
                                      The Marine Specialists
                        10001 Gulf Boulevard, Treasure Island, FL 33706
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Definition of Condition Terms:
EXCELLENT CONDITION: New or like new.
ABOVE AVERAGE CONDITION: Nearly new, with only minor cosmetic or structural discrepancies
noted.
AVERAGE CONDITION: Denotes that system, component or item is functional as is with minor
repairs.
POOR CONDITION: Unusable as is. Requires repairs or replacement of system, component or
item to be considered functional.
Certification:
Acting on behalf of The Marine Specialists, LLC, the undersigned surveyor certifies that to the best
my knowledge and belief: The statements of fact contained in this report are true and correct. The
reported analyses, opinions, and conclusions are limited only by the reported assumptions and
limiting conditions, and is my personal, unbiased professional analyses, opinions, and
conclusions. I have no present or prospective interest in the vessel that is the subject of this
report, and I have no personal interest or bias with respect to the parties involved. My
compensation is not contingent upon the reporting of a predetermined value or direction in value
that favors the cause of the client, the amount of the value estimate, the attainment of a stipulate
result, or the occurrence of a subsequent event. I have made a personal inspection of the vessel
that is the subject of this report.
This report should be considered as an entire document. No single section is meant to be used
except as part of the whole.
This report is submitted without prejudice and for the benefit of whom it may concern. This report
does not constitute a warranty, either expressed, or implied, nor does it warrant the future
condition of the vessel. It is a statement of the condition of the vessel at the time of the survey.
The HIN VSI27693K293 as displayed on the starboard stern.




                                                  Captain Richard F. Davis, AMS 1025
                          Standards               Attending Surveyor
                           Certified              The Marine Specialists




File# VSI930119CV                         11 December 2019                                       6 of 6
                                         The Marine Specialists
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       The Marine Specialists
                       This marine survey of the vessel

               23’ Gravois Center Console




                               Prepared Exclusively for:

                Tampa Bay Marine Towing
                          Conducted by: Richard Davis, AMS
                             Report file #: LAZ840119CV



File# LAZ840119CV                  11 December 2019                            1 of 6
                                The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
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  TO: Tampa Bay Marine Towing                                 Purpose           Valuation
          215 S Tessier Drive                                 Owner             Tampa Bay Marine Towing
          St. Pete Beach, FL 33706                            Our File #        LAZ840119CV
          CMoreno@PreferredBransInc.com                       Date              11 December 2019


                                            Vessel Identification
 Vessel Name              None Displayed                                Reg. No        Unknown
 Home Port                None Displayed                                Hull ID No.    LAZ20999C084
 Manufacturer             Gravois                                       Year           1984
 Location                 Jeanerette, LA                                Color          Yellow
 Model / Style            23’ / Center Console                          Trim Color     Black
  Length        23’ 0’’         Length LOA          26’ 8’”                Beam                8’ 8”

  Draft         1’ 10”          Weight              Unknown                Displacement        Unknown
  Surveyor                Captain Richard F. Davis             Inspection Date              11 December 2019
  Location                MarineMax St. Pete: 6810 Gulfport Blvd S, St. Petersburg, FL 33707
Circumstances of Inspection:
This valuation was requested by the owner to determine condition and value. The inspection was
conducted in the vessel’s slip at MarineMax St. Petersburg. No Sea Tow employees were present for
the inspection.


Scope of Inspection:
Unless otherwise stated: this survey consisted of a visual inspection of the vessel, its equipment, and
components where accessible without removing any fittings. No destructive testing or disassembly of
machinery was performed. Locked or otherwise inaccessible compartments were not forced open.
Machinery, electronics, tankage, piping, and electrical components were visually inspected.


HULL COMPOSITION AND STRUCTURE:
The Gravois 23’ Center Console and is equipped with an aluminum hull with painted yellow finish in
good condition. The decks are constructed of aluminum with painted on nonskid finish in good
condition. The vessel was viewed in its’ slip, therefore the bottom was not viewed. The vessel is
equipped SS cleats and the mooring arrangement is sufficient for the vessel.




File# LAZ840119CV                                11 December 2019                                        2 of 6
                                            The Marine Specialists
                               10001 Gulf Boulevard, Treasure Island, FL 33706
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ENGINES AND MACHINERY: No engine surveyor was present for inspection.
 Configuration                                    Single Outboard
 Engine Mfg.         Tohatsu / 2018               Engine Model        BFT250A
 Hp. / # Cyl         250 HP / 6 Cyl               Fuel Type           Gas / 4 Stroke
 Serial #             BBJJ-6000249                Hours                Unknown
 Prop                 3 Blade SS




                                            Engine




File# LAZ840119CV                      11 December 2019                                3 of 6
                                      The Marine Specialists
                       10001 Gulf Boulevard, Treasure Island, FL 33706
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ELECTRONICS and NAVIGATION: units are working unless otherwise stated.
VHF                  Standard Horizon Explorer mounted in overhead box

GPS PLOTTER:         Garmin GPSmaps 541s mounted on helm

GPS PLOTTER:         Raymarine C80 mounted on console

RADAR:               Raymarine C80 mounted on console

COMPASS              4” Richie mounted on the helm

ANTENNAS:            VHF, RADAR, & GPS




                               Helm & Electronics




File# LAZ840119CV                  11 December 2019                            4 of 6
                                 The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
            Case 8:20-bk-01418-CED       Doc 31    Filed 03/13/20   Page 32 of 45




Valuation
The “Fair Market value” is "the price that a buyer could reasonably be expected to pay and
 a seller could reasonably be expected to accept, if the vessel were for sale on the open
 market for a reasonable period of time, both buyer and seller being in possession of all
 pertinent facts, and neither being under any compulsion to act."
The “Replacement Cost” is the retail cost of a new vessel of the same or similar
 make/model with similar equipment.
These values are dependent on the limiting conditions and assumptions noted in the report.
These values are statements of opinion. No guarantee can be given that these options of
 value will be sustained or that they will be realized in an actual transaction.
Valuations are developed using some or all of the following BUC Books, bucvalupro.com,
 NADA, and Soldboats.
The following are verified actual sales found for this make, model, and vintage.
       1.     Yr: 1995 Location: LA Sold for: $17,000 Date sold: 07/18
       2.     Yr: 2004 Location: TX Sold for: $45,000 Date sold: 04/08
       3.     Yr: 1991 Location: LA Sold for 30,000 Date sold: 09/02


The average from comparisons on Soldboats data is $21,666.66
The BucValuPro tool does not provide a value for this vessel.
The BucValuPro tool provides a value of $24,195.00 for 2018 Honda 250 (same engine)


 Market Value:       $22,500.00 USD                 Replacement Value:    $127,500.00 USD


Conclusion:
As far as could be determined the vessel is in AVERAGE overall condition given its age,
type, and reported operational area. The vessel is currently being used as a commercial
towing vessel around Tampa Bay. It is my opinion that upon compliance with the
recommendations in this report, the vessel will be in satisfactory condition for the intended
use of its manufacturer.




File# LAZ840119CV                      11 December 2019                                5 of 6
                                      The Marine Specialists
                        10001 Gulf Boulevard, Treasure Island, FL 33706
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Definition of Condition Terms:
EXCELLENT CONDITION: New or like new.
ABOVE AVERAGE CONDITION: Nearly new, with only minor cosmetic or structural discrepancies
noted.
AVERAGE CONDITION: Denotes that system, component or item is functional as is with minor
repairs.
POOR CONDITION: Unusable as is. Requires repairs or replacement of system, component or
item to be considered functional.
Certification:
Acting on behalf of The Marine Specialists, LLC, the undersigned surveyor certifies that to the best
my knowledge and belief: The statements of fact contained in this report are true and correct. The
reported analyses, opinions, and conclusions are limited only by the reported assumptions and
limiting conditions, and is my personal, unbiased professional analyses, opinions, and
conclusions. I have no present or prospective interest in the vessel that is the subject of this
report, and I have no personal interest or bias with respect to the parties involved. My
compensation is not contingent upon the reporting of a predetermined value or direction in value
that favors the cause of the client, the amount of the value estimate, the attainment of a stipulate
result, or the occurrence of a subsequent event. I have made a personal inspection of the vessel
that is the subject of this report.
This report should be considered as an entire document. No single section is meant to be used
except as part of the whole.
This report is submitted without prejudice and for the benefit of whom it may concern. This report
does not constitute a warranty, either expressed, or implied, nor does it warrant the future
condition of the vessel. It is a statement of the condition of the vessel at the time of the survey.
The HIN is reported to be LAZ20999C084 and is not displayed on the starboard
stern per USCG.




                                                  Captain Richard F. Davis, AMS 1025
                          Standards               Attending Surveyor
                           Certified              The Marine Specialists




File# LAZ840119CV                         11 December 2019                                       6 of 6
                                         The Marine Specialists
                           10001 Gulf Boulevard, Treasure Island, FL 33706
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       The Marine Specialists
                       This marine survey of the vessel
                      2003 Triumph 210 Center Console




                               Prepared Exclusively for:

                Tampa Bay Marine Towing
                          Conducted by: Richard Davis, AMS
                             Report file #: TRB030119CV




File# TRB030119CV                  11 December 2019                            1 of 6
                                The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
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 TO: Tampa Bay Marine Towing                              Purpose           Condition / Valuation
         215 South Tessier Drive                          Owner             Tampa Bay Marine Towing
         St. Pete Beach, FL 33706                         Our File #        TRB030119CV
                                                          Date              11 December 2019


                                           Vessel Identification
Vessel Name              None Displayed                             REG No          FL 0860 LY (Expried)
Home Port                None Displayed                             Hull ID No.     TRBZ1124F203
Manufacturer             Triumph                                    Year            2003
Location                 Durham, NC                                 Color           Yellow
Model / Style            210 CC / Center Console                    Trim Color      White
 Length        20’ 6’’         Length LOA        20’ 6”                Beam                8’ 6”

 Draft         1’ 10”          Weight            2,300 lbs.            Displacement        Unknown
 Surveyor                Captain Richard F. Davis          Inspection Date           11 December 2019
 Location                Sea Tow St. Petersburg: 3900 39th Ave S, St. Petersburg, FL
Circumstances of Inspection:
This valuation was requested by the owner to determine condition and value. The inspection was
conducted with vessel on blocks at SeaTow St. Petersburg Office. Sea Tow employees were present
for the inspection.




Scope of Inspection:
Unless otherwise stated: this survey consisted of a visual inspection of the vessel, its equipment, and
components where accessible without removing any fittings. No destructive testing or disassembly of
machinery was performed. Locked or otherwise inaccessible compartments were not forced open.
Machinery, electronics, tankage, piping, and electrical components were visually inspected.




File# TRB030119CV                            11 December 2019                                        2 of 6
                                           The Marine Specialists
                              10001 Gulf Boulevard, Treasure Island, FL 33706
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ENGINES AND MACHINERY: No engine surveyor was present for inspection.
 Configuration                                  Single Outboard
 Engine Mfg.         N/A                        Engine Model        N/A
 Hp. / # Cyl         N/A                        Fuel Type           N/A
 Serial #             N/A                       Hours                N/A




                 The vessel doesn’t not currently have an engine.




File# TRB030119CV                    11 December 2019                             3 of 6
                                   The Marine Specialists
                       10001 Gulf Boulevard, Treasure Island, FL 33706
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ELECTRONICS and NAVIGATION: units are working unless otherwise stated.
VHF                  None

GPS PLOTTER:         None

COMPASS              None

SEARCH LIGHT         None

STEREO               None

ANTENNAS:            None




                                        Helm




File# TRB030119CV                  11 December 2019                            4 of 6
                                The Marine Specialists
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Valuation
The “Fair Market value” is "the price that a buyer could reasonably be expected to pay and
 a seller could reasonably be expected to accept, if the vessel were for sale on the open
 market for a reasonable period of time, both buyer and seller being in possession of all
 pertinent facts, and neither being under any compulsion to act."
The “Replacement Cost” is the retail cost of a new vessel of the same or similar
 make/model with similar equipment.
These values are dependent on the limiting conditions and assumptions noted in the report.
These values are statements of opinion. No guarantee can be given that these options of
 value will be sustained or that they will be realized in an actual transaction.
Valuations are developed using some or all of the following BUC Books, bucvalupro.com,
 NADA, and Soldboats.
The following are verified actual sales found for this make, model, and vintage.
       1.     Yr: 2004 Location: NC Sold for: $15,500 Date sold: 08/19
       2.     Yr: 2002 Location: CT Sold for: $13,250 Date sold: 06/19
       3.     Yr: 2005 Location: NC Sold for $15,500 Date sold: 11/18


The average from comparisons on Soldboats data is $14,750
The BucValuPro tool provides a value range of $2,300 – 2,700 in RESTORABLE condition


 Market Value:       $1,200.00 USD                  Replacement Value:      $18,500.00 USD


Conclusion:
As far as could be determined the vessel is in POOR overall condition given its age, type,
and reported operational area. The vessel was being used as a commercial towing vessel
but has been stripped and currently has no engine, electronics, or rigging. The vessel
found on SoldBoats were in running condition with engine and electronics. It is my opinion
that upon compliance with the recommendations in this report, the vessel will be in
satisfactory condition for the intended use of its manufacturer.




File# TRB030119CV                     11 December 2019                               5 of 6
                                     The Marine Specialists
                        10001 Gulf Boulevard, Treasure Island, FL 33706
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Definition of Condition Terms:
EXCELLENT CONDITION: New or like new.
ABOVE AVERAGE CONDITION: Nearly new, with only minor cosmetic or structural discrepancies
noted.
AVERAGE CONDITION: Denotes that system, component or item is functional as is with minor
repairs.
POOR CONDITION: Unusable as is. Requires repairs or replacement of system, component or
item to be considered functional.
Certification:
Acting on behalf of The Marine Specialists, LLC, the undersigned surveyor certifies that to the best
my knowledge and belief: The statements of fact contained in this report are true and correct. The
reported analyses, opinions, and conclusions are limited only by the reported assumptions and
limiting conditions, and is my personal, unbiased professional analyses, opinions, and
conclusions. I have no present or prospective interest in the vessel that is the subject of this
report, and I have no personal interest or bias with respect to the parties involved. My
compensation is not contingent upon the reporting of a predetermined value or direction in value
that favors the cause of the client, the amount of the value estimate, the attainment of a stipulate
result, or the occurrence of a subsequent event. I have made a personal inspection of the vessel
that is the subject of this report.
This report should be considered as an entire document. No single section is meant to be used
except as part of the whole.
This report is submitted without prejudice and for the benefit of whom it may concern. This report
does not constitute a warranty, either expressed, or implied, nor does it warrant the future
condition of the vessel. It is a statement of the condition of the vessel at the time of the survey.
The HIN TRBZ1124F203 as displayed on the starboard stern.




                                                 Captain Richard F. Davis, AMS 1025
                         Standards               Attending Surveyor
                          Certified              The Marine Specialists




File# TRB030119CV                         11 December 2019                                       6 of 6
                                         The Marine Specialists
                           10001 Gulf Boulevard, Treasure Island, FL 33706
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       The Marine Specialists
                        This marine survey of the vessel

                                “Respect”




                                Prepared Exclusively for:

                   Tampa Bay Marine Towing
                           Conducted by: Richard Davis, AMS
                               Report file #: GPT900119V



File# GPT900119V                   11 December 2019                             1 of 6
                                 The Marine Specialists
                     10001 Gulf Boulevard, Treasure Island, FL 33706
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  TO: Tampa Bay Marine Towing                              Purpose           Valuation
          215 South Tessier Dr                             Owner             Tampa Bay Marine Towing
          St. Pete Beach, FL 33706                         Our File #        GPT900119V
          Cile@PreferredBrandsinc.com                      Date              11 December 2019


                                            Vessel Identification
 Vessel Name              Respect                                    REG No         FL 6635 EN
 Home Port                None Displayed                             Hull ID No.    GPT27610L090
 Manufacturer             Bellecraft                                 Year           1990
 Location                 Naples, FL                                 Color          Yellow
 Model / Style            27’ CC / Aluminum Catamaran                Trim Color     Black
  Length        27’ 0’’          Length LOA       29’ 8”                Beam                10’ 6”

  Draft         2’ 6”            Weight           Unknown               Displacement        Unknown
  Surveyor                Captain Richard F. Davis          Inspection Date              11 December 2019
  Location                Magnuson Marina: 6800 Sunshine Skyway Ln S, St. Petersburg, FL 33711
Circumstances of Inspection:
This valuation was requested by the owner to determine condition and value. The inspection was
conducted in the vessel’s slip at Magnuson Marina in St. Petersburg, FL. No Sea Tow employees
were present for the inspection.


Scope of Inspection:
Unless otherwise stated: this survey consisted of a visual inspection of the vessel, its equipment, and
components where accessible without removing any fittings. No destructive testing or disassembly of
machinery was performed. Locked or otherwise inaccessible compartments were not forced open.
Machinery, electronics, tankage, piping, and electrical components were visually inspected.



HULL COMPOSITION AND STRUCTURE:
The Bellecraft 27’ Catamaran and is equipped with aluminum hulls with painted yellow finish in good
condition. The decks are constructed of aluminum with painted on nonskid finish in good condition.
The vessel was viewed in its’ slip, therefore the bottom was not viewed. The vessel is equipped SS
cleats and the mooring arrangement is sufficient for the vessel.




File# GPT900119V                              11 December 2019                                        2 of 6
                                            The Marine Specialists
                                10001 Gulf Boulevard, Treasure Island, FL 33706
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ENGINES AND MACHINERY: No engine surveyor present
 Configuration        Twin Outboard
                      Port                              Starboard
 Engine Mfg. / Yr      Tohatsu / 2018                       Tohatsu / 2018
 Engine Model          BFT250A                              BFT250A
 Fuel and # of cyl.    Gas 4 Stroke / 6 cyl                 Gas 4 Stroke / 6 cyl
 Horsepower            250                                  250
 Serial #              BBJJ-7000032                         BBJJ-6000140
 Hours                 Unknown                              Unknown
 Props                 3 Blade Stainless                    3 Blade Stainless




                                           Engines

File# GPT900119V                     11 December 2019                                3 of 6
                                   The Marine Specialists
                      10001 Gulf Boulevard, Treasure Island, FL 33706
          Case 8:20-bk-01418-CED    Doc 31       Filed 03/13/20   Page 43 of 45




ELECTRONICS and NAVIGATION: units are working unless otherwise stated.
VHF                  Standard Horizon Explorer

GPS PLOTTER:         Garmin GPSmap 741xs mounted on console

COMPASS              4” Richie mounted on the helm

SEARCH LIGHT         Mounted on T-Top

ANTENNAS:            VHF, GPS




                                Helm & Electronics




File# GPT900119V                   11 December 2019                               4 of 6
                                 The Marine Specialists
                    10001 Gulf Boulevard, Treasure Island, FL 33706
            Case 8:20-bk-01418-CED       Doc 31    Filed 03/13/20   Page 44 of 45




Valuation
The “Fair Market value” is "the price that a buyer could reasonably be expected to pay and
 a seller could reasonably be expected to accept, if the vessel were for sale on the open
 market for a reasonable period of time, both buyer and seller being in possession of all
 pertinent facts, and neither being under any compulsion to act."
The “Replacement Cost” is the retail cost of a new vessel of the same or similar
 make/model with similar equipment.
These values are dependent on the limiting conditions and assumptions noted in the report.
These values are statements of opinion. No guarantee can be given that these options of
 value will be sustained or that they will be realized in an actual transaction.
Valuations are developed using some or all of the following BUC Books, bucvalupro.com,
 NADA, and Soldboats.
The following are verified actual sales found for this make, model, and vintage.
       1.     Yr: 1995 Location: FL Sold for: $39,000 Date sold: 02/15
       2.     Yr: 1992 Location: FL Sold for: $30,000 Date sold: 10/02


The average from comparisons on Soldboats data is $34,500.00
The BucValuPro tool does not provide a value for this vessel.
The BucValuPro tool provides a value of $24,195.00 for 2018 Honda 250 (same engine)



 Market Value:       $29,500.00 USD                  Replacement Value:      $179,500.00 USD


Conclusion:
As far as could be determined the vessel is in AVERAGE overall condition given its age,
type, and reported operational area. The vessel is currently being used as a commercial
towing vessel around Tampa Bay. It is my opinion that upon compliance with the
recommendations in this report, the vessel will be in satisfactory condition for the intended
use of its manufacturer.




File# GPT900119V                       11 December 2019                                5 of 6
                                      The Marine Specialists
                        10001 Gulf Boulevard, Treasure Island, FL 33706
            Case 8:20-bk-01418-CED          Doc 31     Filed 03/13/20      Page 45 of 45




Definition of Condition Terms:
EXCELLENT CONDITION: New or like new.
ABOVE AVERAGE CONDITION: Nearly new, with only minor cosmetic or structural discrepancies
noted.
AVERAGE CONDITION: Denotes that system, component or item is functional as is with minor
repairs.
POOR CONDITION: Unusable as is. Requires repairs or replacement of system, component or
item to be considered functional.
Certification:
Acting on behalf of The Marine Specialists, LLC, the undersigned surveyor certifies that to the best
my knowledge and belief: The statements of fact contained in this report are true and correct. The
reported analyses, opinions, and conclusions are limited only by the reported assumptions and
limiting conditions, and is my personal, unbiased professional analyses, opinions, and
conclusions. I have no present or prospective interest in the vessel that is the subject of this
report, and I have no personal interest or bias with respect to the parties involved. My
compensation is not contingent upon the reporting of a predetermined value or direction in value
that favors the cause of the client, the amount of the value estimate, the attainment of a stipulate
result, or the occurrence of a subsequent event. I have made a personal inspection of the vessel
that is the subject of this report.
This report should be considered as an entire document. No single section is meant to be used
except as part of the whole.
This report is submitted without prejudice and for the benefit of whom it may concern. This report
does not constitute a warranty, either expressed, or implied, nor does it warrant the future
condition of the vessel. It is a statement of the condition of the vessel at the time of the survey.
The HIN is reported to be GPT27610L090 and is not displayed on the starboard
stern per USCG.




                                                  Captain Richard F. Davis, AMS 1025
                          Standards               Attending Surveyor
                           Certified              The Marine Specialists




File# GPT900119V                          11 December 2019                                       6 of 6
                                         The Marine Specialists
                           10001 Gulf Boulevard, Treasure Island, FL 33706
